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                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION                                                            ENTERED
                                                                                                              03/07/2018
IN RE:                                                   §
                                                         §
LOCKWOOD HOLDINGS, INC., et al., 1                       §                       Case No. 18-30197(DRJ)
                                                         §                       (Chapter 11)
                                                         §                       (Jointly Administered)
            DEBTORS.                                     §

    AGREED ORDER ON WELLS FARGO EQUIPMENT FINANCE, INC.'S MOTION
    FOR RELIEF FROM THE AUTOMATIC STAY PURSUANT TO 11 U.S.C. § 362(d)
                   [This instrument relates to Docket No. 60]

            Upon the Motion for Relief From the Automatic Stay Pursuant to 11 U.S.C. § 362(d)

[Docket No. 60] (the "Motion") filed by Wells Fargo Equipment Finance, Inc. ("WFEF") and

upon the agreement (the "Agreement") between WFEF and the above-captioned debtors and

debtors in possession (collectively, the "Debtors") announced at the hearing on the Motion

conducted on February 21, 2018 (the "Hearing"); and the Court having jurisdiction over the

Motion pursuant to 28 U.S.C. §§ 157 and 1334; and the Motion presenting a core proceeding

pursuant to 28 U.S.C. § 157(b)(2); and venue of this proceeding and the Motion in this district

being proper pursuant to 28 U.S.C. §§ 1408 and 1409; and adequate and appropriate notice of the

Motion having been given under the circumstances, and no other or further notice being

required; it is therefore ORDERED that: 2

            1.    The Motion is GRANTED subject to the provisions of this Agreed Order and the

Agreement announced at the Hearing.



1
 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number are: Lockwood Holdings, Inc. (9726); LH Aviation, LLC (6984); Piping Components, Inc. (0197);
Lockwood International, Inc. (8597); Lockwood Enterprises, Inc. (6504); LMG Manufacturing, Inc. (9468); and,
7807 Eagle Lane, LLC (7382) (collectively, the "Debtors").
2
 Unless otherwise noted herein, all undefined capitalized terms appearing in this Agreed Order shall have the
meaning(s) ascribed to such terms as set forth in the Motion.
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            2.   The Agreement set forth on the record at the Hearing is hereby approved, and the

parties are directed and authorized to perform in accordance therewith.

            3.   The Debtors shall agree to a storage and maintenance proposal for the Aircraft

Collateral provided by Embraer (or another vendor of WFEF's choosing) and the Aircraft

Collateral shall remain in Fort Lauderdale, FL, except as otherwise required to conduct a

demonstrative test-flight for a prospective purchaser of the Aircraft Collateral, which

demonstrative test-flight must be approved by WFEF, and which approval shall not be

unreasonably withheld. Furthermore, any such prospective purchaser of the Aircraft Collateral

desiring to conduct a demonstrative test flight shall bear all maintenance, flight, fuel, piloting,

and other costs, if any, customarily associated with such demonstrative test-flight, including

costs associated with bringing the Aircraft Collateral to and returning the Aircraft Collateral back

to Fort Lauderdale, FL from any demonstrative test-flight that is not conducted in Fort

Lauderdale, FL.

            4.   WFEF and/or its agents may communicate directly with the storage and

maintenance vendor(s) (i.e., Embraer, Honeywell, et al.) and receive periodic updates regarding

the    maintenance     and   condition   of   the   Aircraft   Collateral   directly   from    such

vendors. Furthermore, WFEF shall fund any customary maintenance and storage costs, and such

other reasonable costs and expenses associated with the preservation and maintenance of the

Aircraft Collateral, except such costs associated with conducting demonstrative test-flights for

prospective purchasers.

            5.   Unless WFEF and the Debtors agree otherwise, the Aircraft Collateral shall not be

flown except to: (i) conduct customary maintenance; (ii) conduct a demonstrative test-flight for a

prospective purchaser, as approved by WFEF, which approval shall not be unreasonably


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withheld; or, (iii) transport the Aircraft Collateral to and from the location of demonstrative test-

flight for a prospective purchaser, as approved by WFEF.

            6.   By no later than March 9, 2018, the Debtors shall request permission from this

Court to engage a broker (either Jet Aviva or Jetcraft) to market and sell the Aircraft Collateral,

provided, however, that WFEF may communicate directly with such engaged broker, and such

engaged broker shall, within twenty-four (24) hours of WFEF's request, provide WFEF with

written updates regarding the sale process.

            7.   Based on the stipulation of the Debtors and WFEF, WFEF shall have an allowed,

secured claim in the amount of no less than approximately $13,474,657.43 as of the First Petition

Date (the "WFEF Claim") secured by valid, perfected, first priority liens on the Aircraft

Collateral and the proceeds therefrom (the "WFEF Liens"). 3 Furthermore, the amount of any

expenses incurred, interest accrued, and/or fees assessed by WFEF pursuant to the Loan

Documents since the Petition Dates, including reasonable professional fees and costs associated

with, without limitation, brokers, appraisers, and other examiners engaged by WFEF, shall be

afforded treatment as a superpriority, administrative expense claim, with a priming lien as set

forth under 11 U.S.C. § 364(c)(1), with priority in payment over any and all administrative

3
  Notwithstanding anything to the contrary herein, this Agreed Order is without prejudice to, and shall not limit,
release, or impair, the rights of the Official Committee of Unsecured Creditors formed in these Bankruptcy Cases
(the "Committee") to contest the amount of the WFEF Claim; provided, however, that within twenty-one (21) days
after the entry of this Agreed Order (the "Document Production Deadline"), WFEF shall provide to the Committee
documentation substantiating and detailing the calculation of the WFEF Claim (the "WFEF Claim Documents"), and
provided further, that any challenge by the Committee to the allowed amount of the WFEF Claim must be
commenced and prosecuted by way of an adversary proceeding that shall be filed within twenty (20) days after the
date on which WFEF provides the WFEF Claim Documents to the Committee (the "Investigation Deadline").
Notwithstanding the foregoing, except upon further order of this court or mutual, written agreement by WFEF and
the Committee, the Investigation Deadline shall not extend beyond forty (40) days after the date on which this
Agreed Order is entered. The Investigation Deadline, however, may be extended by this Court for cause if a motion
to extend the Investigation Deadline is filed on or before the Investigation Deadline. If an adversary proceeding is
not commenced on or before the Investigation Deadline, and this Court has not approved an extension of the
Investigation Deadline or WFEF and the Committee have not agreed to extend the Investigation Deadline, the
Committee will be deemed to have agreed and acknowledged that the allowed amount of the WFEF Claim is as set
forth in paragraph 7 of this Agreed Order, and the WFEF Claim shall not be subject to any other or further challenge
by the Committee.
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expenses arising under 11 U.S.C. §§ 503(b) and 507(b) (the "WFEF Admin Claim," and together

with the WFEF Claim, collectively, the "WFEF Claims"). 4 Furthermore, the Debtors shall not be

permitted to challenge the amount, validity, priority, or extent of the WFEF Claim or the WFEF

Lien.

            8.   Based on the stipulation between the Debtors and Wells Fargo Bank, National

Association, in its capacity as Administrative Agent ("Wells Fargo"), the allowed amount of

Wells Fargo's indebtedness in connection with, without limitation, that certain Pledge and

Security Agreement Joinder No. 1, dated as of August 21, 2017, in favor of Wells Fargo, and that

certain Aircraft Mortgage and Security Agreement between LH Aviation, LLC and Wells Fargo,

dated as of September 8, 2017 (collectively, the "Wells Fargo Loan Documents"), shall be

secured by valid, perfected, second priority liens on the Aircraft Collateral and the proceeds

therefrom (the "Wells Fargo Liens").

            9.   The Debtors shall, within twenty-four (24) hours of receipt, submit to or advise

WFEF and the Committee of any expressions of interest, letters of intent, or other written offers

to purchase the Aircraft Collateral received by the Debtors and/or their agents or employees,

including, but not limited to, Michael Stevens. Additionally, any sale of the Aircraft Collateral

must be approved by WFEF pursuant to the terms of the Agreement. Furthermore, the amount of

any net sale proceeds in excess of the WFEF Claims, if any, shall be turned over to Wells Fargo

to be applied towards the indebtedness owing in respect of the Wells Fargo Loan Documents and

the Wells Fargo Liens, subject to LH Aviation, LLC's rights to request to use the same as cash




4
 The WFEF Admin Claim shall be subject to review by the Debtors and the Committee for reasonableness. If the
Debtors or the Committee object to any portion of the WFEF Admin Claim as unreasonable, then the portion not
subject to objection shall be deemed allowed. Any objection that cannot be resolved by the parties shall be brought
before this Court for resolution.
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collateral, or otherwise seek to have the same turned back over to the bankruptcy estate of LH

Aviation, LLC.

            10.   If, within thirty (30) days after the entry of this Agreed Order, the Debtors receive

an offer to purchase the Aircraft Collateral for an amount equal to or in excess of the benchmark

set forth in the Agreement related to the first 30-day marketing period, then the Debtors must

accept such offer, unless, subject to agreement by WFEF, the Debtors decline such offer in the

exercise of their reasonable business judgment. Furthermore, if, at any point after thirty (30)

days after the entry of this Agreed Order, the Debtors receive an offer to purchase the Aircraft

Collateral for an amount equal to or in excess of the benchmark set forth in the Agreement

related to the second 30-day marketing period, then the Debtors must accept such offer, unless,

subject to agreement by WFEF, the Debtors decline such offer in the exercise of their reasonable

business judgment.

            11.   If no sale of the Aircraft Collateral has been approved by WFEF and completed

within sixty (60) days after the date this Agreed Order is entered (the "Closing Deadline"), then

the Debtors shall transfer title to the Aircraft Collateral to WFEF, or its assignee, in full

satisfaction of the entire indebtedness due and owing to WFEF in connection with the Loan

Documents, this Agreed Order, the Agreement, or otherwise; provided, however, that if a sale

approved by WFEF is in process but not yet closed by the Closing Deadline, then the Closing

Deadline shall be extended until the earlier of: (i) twenty-one (21) days after the Closing

Deadline, unless WFEF agrees otherwise; or, (ii) the date that this Court enters an order

approving or denying the sale of the Aircraft Collateral.




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            12.   The automatic stay under 11 U.S.C. § 362 is modified to permit WFEF to take all

steps necessary to effect and enforce the provisions of this Agreed Order, as supplemented by the

Agreement announced on the record at the Hearing.

            13.   To the extent that the provisions of this Agreed Order conflict with the Agreement

announced on the record at the Hearing, the terms of this Agreed Order shall control.

Furthermore, to the extent that a dispute arises concerning the interpretation and/or enforcement

of the Agreement or the Agreed Order, WFEF and the Debtors agree to not oppose a request for

an expedited hearing before this Court to address the same.

            14.   The fourteen-day stay provided under Federal Rule of Bankruptcy Procedure

4001(a)(3) shall not apply.

            15.   The Court retains jurisdiction over the terms of this order, the Agreement

announced at the Hearing, and all matters relating thereto.

            16.   This Agreed Order is a Final Order within the meaning of 28 U.S.C. § 158(a)(1)

and is effective immediately upon entry.


            Signed: March 07, 2018.
            ZZZZ
                                                      ____________________________________
                                                      DAVID R. JONES
                                                      UNITED STATES BANKRUPTCY JUDGE




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            -and-




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